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 1                              UNITED STATES DISTRICT COURT
 2                                    DISTRICT OF NEVADA
 3
     ROBERT BAKER,                                )
 4            Plaintiff,                          )
         vs.                                      )
 5                                                     Case No.: 2:14-cv-00786-GMN-PAL
                                                  )
 6   BRIAD RESTAURANT GROUP, LLC,                 )
                                                  )
 7                 Defendant.                     )
                                                  )
 8
 9           ORDER OF DISMISSAL BY COURT FOR WANT OF PROSECUTION
10         This action has been pending in this Court for more than two-hundred-seventy (270)
11   days without any proceeding having been undertaken during such period.
12         Accordingly,
13         IT IS HEREBY ORDERED that Plaintiff Robert Baker’s claims in the above entitled
14   action are DISMISSED without prejudice for want of prosecution pursuant to the provisions
15   of D. Nev. Local Rule 41-1.
16         IT IS FURTHER ORDERED that the Clerk of Court is instructed to terminate Plaintiff
17   Robert Baker from this action.
18         DATED this _____
                        23 day of February, 2018.

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                                               ___________________________________
21                                             Gloria M. Navarro, Chief Judge
                                               United States District Court
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